Case 1:20-cv-02310-JRS-MPB Document 122 Filed 11/10/20 Page 1 of 1 PageID #: 1717




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  ERIN ALDRICH individually and on behalf of all )
  others similarly situated, et al.              )
                                                 )
                                Plaintiffs,      )
                                                 )
                            v.                   )          No. 1:20-cv-02310-JRS-MPB
                                                 )
  NATIONAL COLLEGIATE ATHLETIC                   )
  ASSOCIATION, et al.                            )
                                                 )
                                Defendants.      )


                                        SCHEDULING ORDER

         The above case is hereby assigned for a TELEPHONIC STATUS CONFERENCE on

  November 24, 2020 at 11:00 a.m., Indianapolis time (Eastern), before the Honorable Matthew P.

  Brookman, United States Magistrate Judge. The information needed by counsel to

  participate in this telephonic conference will be provided by a separate notification. The

  requirement to file a Case Management Plan pursuant to Local Rule 16-1(c) is hereby STAYED

  until further order from the court.

         SO ORDERED.

  Dated: November 10, 2020




  Served electronically on all ECF-registered counsel of record.
